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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 IMPLICIT, LLC,                        §
                                       §
     Plaintiff,                        §                CIVIL ACTION NO. 6:17-cv-182-JRG
                                       §                         (LEAD CASE)
 v.                                    §
                                       §
 HUAWEI TECHNOLOGIES USA, INC., et al. §                      JURY TRIAL DEMANDED
                                       §
    Defendants.                        §

                       SEVENTH AMENDED DOCKET CONTROL ORDER

       It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:


 Current Deadline          New Deadline                             Event

 October 22, 2018        Unchanged             *Jury Selection – 9:00 a.m. in Tyler, Texas

 September 27, 2018      Unchanged             *Pretrial Conference – 9:00 a.m. in
                                               Marshall, Texas before Judge Rodney Gilstrap

 September 19, 2018      September 24, 2018    *Notify Court of Agreements Reached During
                                               Meet and Confer

                                               The parties are ordered to meet and confer on
                                               any outstanding objections or motions in limine.
                                               The parties shall advise the Court of any
                                               agreements reached no later than 1:00 p.m. three
                                               (3) business days before the pretrial conference.

 September 17, 2018      Unchanged             *File Joint Pretrial Order, Joint Proposed Jury
                                               Instructions, Joint Proposed Verdict Form,
                                               Responses to Motions in Limine, Updated
                                               Exhibit Lists, Updated Witness Lists, and
                                               Updated Deposition Designations
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 September 10, 2018     Unchanged               *File Notice of Request for Daily Transcript or
                                                Real Time Reporting.

                                                If a daily transcript or real time reporting of
                                                court proceedings is requested for trial, the party
                                                or parties making said request shall file a notice
                                                with the Court and e-mail the Court Reporter,
                                                Shelly                 Holmes,                   at
                                                shelly_holmes@txed.uscourts.gov.

 September 14, 2018     Unchanged               File Motions in Limine

                                                The parties shall limit their motions in limine to
                                                issues that if improperly introduced at trial
                                                would be so prejudicial that the Court could not
                                                alleviate the prejudice by giving appropriate
                                                instructions to the jury.

 September 15, 2018     September 17, 2018      Serve Objections         to   Rebuttal     Pretrial
 (note that this is a                           Disclosures
 Saturday)

 September 12, 2018     Unchanged               Serve Objections to Pretrial Disclosures; and
                                                Serve Rebuttal Pretrial Disclosures

 September 11, 2018     September 20, 2018      Sur-Replies to any Motions to Strike (including
                                                Daubert Motions) With Regard to Mr. Bakewell

 September 11, 2018     Unchanged               Sur-Replies to any Daubert Motions or
                                                Dispositive Motions Except for Motions With
                                                Regard to Mr. Bakewell.

 September 8, 2018      September 17, 2018      Replies to any Motions to Strike (including
 (note that this is a                           Daubert Motions) With Regard to Mr. Bakewell
 Saturday)

 September 8, 2018      Unchanged               Replies to any Daubert Motions or Dispositive
 (note that this is a                           Motions Except for Motions With Regard to Mr.
 Saturday)                                      Bakewell.

 September 6, 2018      September 8, 2018       Serve Pretrial Disclosures (Witness List,
                        (note that this is a    Deposition Designations, and Exhibit List) by
                        Saturday)               the Party with the Burden of Proof

 September 3, 2018      September 12, 2018      Responses to any Motions to Strike (including
 (note that this is                             Daubert Motions) With Regard to Mr. Bakewell
 Labor Day)


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 September 3, 2018       September 4, 2018       Responses to any Daubert Motions or
 (note that this is                              Dispositive Motions Except for Motions With
 Labor Day)                                      Regard to Mr. Bakewell.

 August 23, 2018         September 1, 2018       *File Motions to Strike Expert Testimony
                                                 (including Daubert Motions) With Regard to
                                                 Mr. Bakewell

                                                 No motion to strike expert testimony (including
                                                 a Daubert motion) may be filed after this date
                                                 without leave of the Court.

 August 23, 2018         Unchanged               *File Motions to Strike Expert Testimony
                                                 (including Daubert Motions) Except for
                                                 Motions With Regard to Mr. Bakewell.

                                                 No motion to strike expert testimony (including
                                                 a Daubert motion) may be filed after this date
                                                 without leave of the Court.

 August 23, 2018         Unchanged               *File Dispositive Motions

                                                 No dispositive motion may be filed after this
                                                 date without leave of the Court.

                                                 Motions shall comply with Local Rule CV-56
                                                 and Local Rule CV-7. Motions to extend page
                                                 limits will only be granted in exceptional
                                                 circumstances.     Exceptional circumstances
                                                 require more than agreement among the parties.

 August 21, 2018         August 30, 2018         Deadline to Complete Expert Discovery With
                                                 Regard to Mr. Bakewell


(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the
Court will appoint a mediator. The parties should not file a list of mediators to be considered by
the Court.

      Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the


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completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)       The fact that there are motions for summary judgment or motions to dismiss pending;

(b)       The fact that one or more of the attorneys is set for trial in another court on the same day,
          unless the other setting was made prior to the date of this order or was made as a special
          provision for the parties in the other case;

(c)       The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.
      .
       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 6th day of September, 2018.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




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